Case 2:05-cr-20030-.]PI\/| Document 82 Filed 06/22/05 Pa 1 of 2 Pa e|D 100
IN THE UNITED STATES DISTRICT COIS§T g

FOR THE WESTERN DISTRICT OF TENNESSEE r

 

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UNITED STATES OF AMERICA cuzi.i-:. us. sls“r. cr
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V.
TIMOTHY R. FORREST 05cr20030-M1

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY 'I`RIAL ACT

 

Before the court is the government’s oral motion to continue arraignment set
]une 21, 2005. As grounds for the motion, the government states additional time
is needed to determine if a Rule 20 transfer Will be accomplished The defendant
does not oppose the continuance The Court finds that the arraignment should be
continued and that the ends of justice served by such a continuance outweigh the

best interests of the public and the defendant in a speedy trial.

lt is therefore ORDERED that the time period of égéz&,§ through
il f '@Léé be excluded from the time its imposed by the Speedy Trial Act for

trial of this case.

ARRAIGNMENT IS RESET TO WEDNESDAY, ]ULY 6, 2005 AT 9:30 A.M.
BEFORE MAGISTRATE ]UDGE S. THOMAS ANDERSON.

/--"\
This 9 l day of cl UW& ,2005.

  
 

 

This document entered on the docket sheet l c

With Ftu|e 55 and/or 32(b) FRCrP On ITED STATES MAGISTRATE ]UDG ’ YZ

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
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NNESSEE

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

l\/lemphis7 TN 38117--571

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

